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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                     )
 UNITED STATES OF AMERICA,                           )
                                                     )
                                                     )
                        v.                           ) Case No. 1:21-cr-92-TNM
                                                     )
 COUY GRIFFIN,                                       )
                                                     )
        Defendant.                                   )
                                                     )

DEFENDANT GRIFFIN’S NOTICE OF PREJUDICIAL STATEMENT MADE BY THE
              PRESIDENT ABOUT THIS INVESTIGATION

       On October 21, the president gave a 28-minute speech at the 10th anniversary celebration

of the dedication of the Dr. Martin Luther King, Jr., Memorial, in the district in which Griffin’s

trial will be held, Washington, D.C. The remarks were also aired on national television. They

contained the following passage:

       We’re confronting what remains of the deep stain on the soul of the nation: hate and

       white supremacy. You know, there’s a tough through line on subjugation and enslaved

       people from our earliest days to the reign of radicalized terror of the KKK and Dr. King

       being assassinated. And that line continues to the torches emerging from dark shadows in

       Charlottesville, carrying out Nazi banners and chanting antisemitic bile. And Ku Klux

       Klan flags. And the violent, deadly insurrection on the Capitol nine months ago. It

       was about white supremacy in my view.

       Remarks by President Biden at the 10th Anniversary Celebration of the Dedication of the

Dr. Martin Luther King, Jr., Memorial, The White House, Oct. 21, 2021,

https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/10/21/remarks-by-president-




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biden-at-the-10th-anniversary-celebration-of-the-dedication-of-the-dr-martin-luther-king-jr-

memorial/.




Screengrabs from the president’s Oct. 21, 2021 remarks,
https://www.youtube.com/watch?v=nLQg4YwE0t4

       As the Court knows, the Department of Justice bars government employees “from

disclosing . . . except as appropriate in the proceeding or in an announcement after a finding of


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guilt: (A) Observations about a defendant’s or party’s character.” Justice Manual, § 1-7.610 –

Concerns of Prejudice, https://www.justice.gov/jm/jm-1-7000-media-relations. That norm is

also generally applied to the president. See, e.g., Biden: Comment that DOJ should prosecute

those who defy subpoenas “not appropriate,” The Hill, Oct. 21, 2021,

https://thehill.com/homenews/administration/577956-biden-on-comments-that-doj-should-

prosecute-those-who-defy-subpoenas.

       Griffin would like to be clear that he has no objection to or disagreement with the

president’s above-quoted remarks before the emboldened passage concerning the January 6

investigation. However, it was inappropriate, and highly prejudicial, for the president publicly

to: (1) pair all January 6 defendants, including Griffin, with the “reign of radicalized terror of the

KKK,” “Dr. King being assassinated,” “Nazi banners,” and “antisemitic bile”; and (2) lump all

of the defendants together and ascribe their collective conduct to white supremacy. That these

remarks were made in the district where Griffin’s trial will be held and on national television

aggravates their undue prejudicial effect with the finder of fact.

Dated: Oct. 22, 2021

                                                       Respectfully submitted,


                                                       /s/ David B. Smith
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                                                       Appointed by the Court

                                                       Nicholas D. Smith, VA Bar No. 79745
                                                       David B. Smith, PLLC
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                                     Certificate of Service

       I hereby certify that on the 22nd day of October, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              JANANI IYENGAR
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                     /s/ David B. Smith
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